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 6 Attorneys for Plaintiff
   JOANNA MAXON
 7
 8
                                        UNITED STATES DISTRICT COURT
 9
                                    CENTRAL DISTRICT OF CALIFORNIA
10
11
     JOANNA MAXON, AN INDIVIDUAL,                        Case No. __________
12
                                        Plaintiff,       COMPLAINT FOR:
13
              vs.                                        1. TITLE IX OF THE EDUCATION
14                                                          AMENDMENTS OF 1972, 20 USC
   FULLER THEOLOGICAL SEMINARY,                             §§ 1681, ET SEQ.
15 a California nonprofit corporation;                   2. CALIFORNIA’S UNRUH CIVIL
   MARIANNE MEYE THOMPSON, an                               RIGHTS ACT, CAL. CIV. CODE
16 individual,                                              §§ 51-52 ET SEQ.
                                                         3. BREACH OF CONTRACT
17                                      Defendant.       4. INTENTAIONL INFLICTION OF
                                                            EMOTIONAL DISTRESS
18
                                                         DEMAND FOR JURY TRIAL
19
20            Plaintiff, JOANNA MAXON, an individual (“Plaintiff”), for her Complaint
21 against Defendant FULLER THEOLOGICAL SEMINARY (“Fuller”) and
22 Defendant MARIANNE MEYE THOMPSON (“Dean Thompson”), alleges as
23 follows:
24            1.        This is a civil rights case about a woman who was expelled from her
25 graduate program for one reason: she married another woman.
26            2.        Mrs. Maxon is a wife and mother who hoped to use her degree to
27 become a better supervisor, to advance her career and to open up new opportunities
28 for serving her community. Mrs. Maxon financed her education through federal

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 1 funding from the U.S. Department of Education. Now, after suddenly being
 2 expelled because of her same-sex marriage, Mrs. Maxon has to repay those loans
 3 and to reassess her professional goals.
 4            3.        The institution that expelled her, while religious in nature, accepts
 5 federal funding, offers a variety of degree programs, does not require students to
 6 adhere to a statement of faith, and has not received a religious exemption from the
 7 requirements of Title IX.
 8            4.        Mrs. Maxon is a Christian woman who took her studies seriously. She
 9 worked diligently on the courses in her program. Her peers and professors respected
10 and admired her. She deserved more than a cold letter dismissing her “effective
11 immediately.”
12            5.        Being cast aside, by a distant administrator, from a community she
13 loved, and that had loved her back, hurt deeply and aggravated the rejection and
14 trauma she has experienced as a woman and a sexual minority. As one of her former
15 professor’s has recognized, “This is wrong.”
16
                                        JURISDICTION AND VENUE
17
18            6.        This action arises under Title IX, Education Amendments of 1972, 20
19 U.S.C. § 1681 et seq. This Court has subject matter jurisdiction pursuant to 28
20 U.S.C. § 1331.
21            7.        This Court has supplemental jurisdiction over Mrs. Maxon’s state law
22 claims pursuant to 28 U.S.C. § 1367 because her state law claims are related to her
23 federal claims and form part of the same case and controversy.
24            8.        This Court has personal jurisdiction over Fuller because Fuller is a
25 California non-profit corporation whose principal offices are located in this District.
26 This Court has personal jurisdiction over Dean Thompson because, on information
27 and belief, Dean Thompson resides in this district.
28

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 1            9.        Venue is proper in this district court pursuant to 28 U.S.C. § 1391(b)
 2 because Defendants reside in this district and a substantial part of the events giving
 3 rise to Mrs. Maxon’s claims occurred in this district.
 4
                                                PARTIES
 5
 6            10.       Plaintiff is a Texas resident currently residing in Fort Worth, Texas.
 7            11.       Defendant Fuller Theological Seminary (“Fuller”) is a California
 8 nonprofit corporation, located at 135 North Oakland Avenue, Pasadena, California
 9 91182.
10            12.       Defendant Marianne Meye Thompson is an individual residing in
11 California and working at Fuller. At all times relevant to this complaint, Dean
12 Thompson acted within the course and scope of her employment at Fuller.
13            13.       Whenever and wherever reference is made in this Complaint to any act
14 or failure to act by a Defendant or Defendants, such allegations and references shall
15 also be deemed to mean the acts and failure to act of each Defendant acting
16 individually, jointly, and severally.
17
                                        FACTUAL ALLEGATIONS
18
19 A.         Mrs. Maxon Enrolls at Fuller.
20            14.       Fuller’s main campus is located on 13 acres in the Playhouse District
21 of Pasadena. Its campus includes 29 buildings with nearly 300,000 square feet of
22 office, administrative, and educational space and 267 residential units.
23            15.       Fuller also offers educational degree programs online and at several
24 regional campuses across the country. The majority of students do not attend class
25 at Fuller’s main campus.
26            16.       Fuller offers degrees in psychology, intercultural studies and theology.
27
28

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 1            17.       Mrs. Maxon enrolled at Fuller in 2015 through the school of theology.
 2 She was primarily enrolled in courses online. She also attended some courses at
 3 Fuller’s regional campus in Texas.
 4            18.       At the time of her application, Mrs. Maxon was married to her
 5 husband. After her admission was approved and she had a start date, she and her
 6 husband separated. She called the school and asked to move her start date of
 7 studies. This was granted and she disclosed her divorce to Fuller along with
 8 changing her last name. Her divorce was finalized prior to her start date, her first
 9 class had her old last name and she had to work through having her name and email
10 address for the school changed during that first quarter.
11            19.       Mrs. Maxon began dating a woman and discussed her same-sex
12 relationship with students and professors at Fuller. Students and professors were
13 supportive of her and her family.
14            20.       In 2016, after the legalization of same-sex marriage, Mrs. Maxon
15 married her wife. They filed a joint tax return and Mrs. Maxon authorized the IRS
16 to share her tax return with Fuller for purposes of financial aid.
17            21.       Mrs. Maxon is also a mother.
18            22.       Mrs. Maxon discussed her same-sex marriage and family with students
19 and professors at Fuller. They continued to be supportive and affirming of her and
20 her family.
21            23.       Over the next three years, Mrs. Maxon maintained a strong GPA at
22 Fuller and nearly completed her Master of Arts in Theology (“MAT”) degree. She
23 started her time at Fuller as a Masters of Arts in Theology and Ministry (“MATM”)
24 student and changed her degree to MAT, which is a more academic degree and
25 would have allowed her to pursue a Ph.D. at some point, which is fitting as she had
26 not discerned a call to vocational ministry in her time at Fuller.
27
28

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 1            24.       Students who enroll in the MAT degree program pursue the degree to
 2 enhance their leadership skills for use in a variety of professions, including
 3 ministry, business, nonprofit work, and the arts.
 4            25.       Fuller admits students from a variety of faith traditions.
 5            26.       Fuller does not require students to adhere to a statement of faith.
 6            27.       Fuller admits students who are sexual or gender minorities
 7 (LGBTQIA+).
 8            28.       Fuller does not prohibit same-sex relationships among its students.
 9            29.       Fuller is an independent institution. Fuller is not affiliated with a
10 religious denomination or church. Fuller’s board is not appointed by a religious
11 organization.
12            30.       Fuller does not have members or owners.
13            31.       As an accredited educational institution, Fuller’s primary purpose is to
14 provide educational courses and to grant certificates, diplomas and degrees in
15 recognition of student completion of graduation requirements (collectively,
16 “educational services”).
17            32.       Fuller charges students tuition for its educational services.
18            33.       Fuller competes in the marketplace against other private and public
19 colleges and universities to attract students, faculty, and administrators.
20            34.       Fuller competes in the marketplace to attract revenues from students
21 who finance their education through federal student loans.
22            35.       Students attend Fuller, at least in part, to further their economic
23 opportunities.
24            36.       A Fuller degree confers an economic benefit on students.
25            37.       Fuller is accredited by the secular Western Association of Schools and
26 Colleges’ (WASC) Senior College and University Commission.
27            38.       Mrs. Maxon funded her education at Fuller through student loans from
28 the U.S. Department of Education.

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 1            39.       On information and belief, the majority of Fuller’s revenues come from
 2 student loans funded by the federal government.
 3 B.         Fuller Expels Mrs. Maxon.
 4            40.       On August 29, 2018, Nicole Boymook, Executive Director of the
 5 Office of Student Concerns (“OSC”), and the Title IX & Discrimination Officer for
 6 Students, submitted a Complaint Resolution Report relating to a complaint form
 7 submitted by the Office of Student Financial Service (“OSFS”). See Exhibit 1.
 8            41.       The complaint form submitted by OSFS appears to have alleged that
 9 Mrs. Maxon violated “Community Standard: Sexual Standards.” OSC did not
10 provide a copy of the complaint form to Mrs. Maxon. According to the Complaint
11 Resolution Report, the basis for OSFS’s complaint was twofold: (1) that OSFS
12 received a copy of Mrs. Maxon’s 2016 income tax returns indicating that Joanna
13 was married to another female and (2) Mrs. Maxon’s acknowledgment of her
14 marriage during an August 28, 2018 telephone conversation that was part of an
15 investigation conducted by Ms. Boymook.
16            42.       During this investigation, Ms. Boymook did not ask Mrs. Maxon if she
17 had engaged in “homosexual forms of explicit sexual conduct,” which is what
18 Fuller’s Community Standard: Sexual Standard prohibits. Fuller’s Community
19 Standard: Sexual Standard does not prohibit same-sex dating relationships or same-
20 sex civil marriages.
21            43.       After the call with Ms. Boymook, Mrs. Maxon reached out to a Fuller
22 professor and administrator for advice. In response, that professor and administrator
23 affirmed their support for Mrs. Maxon, telling her “You are enough…Joanna I am
24 for you[.]”
25            44.       Three weeks later, on September 20, 2018, which was only one
26 business day before classes for the fall quarter began, Ms. Boymook provided Mrs.
27 Maxon with a copy of the Complaint Resolution Report. Ms. Boymook stated that
28 Mrs. Maxon could respond in writing as to whether or not she accepted the findings

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 1 in the report. Ms. Boymook emphasized that “this is your only opportunity to
 2 provide direct input for consideration by the Dean.” (bold and italics in the
 3 original). Ms. Boymook directed Mrs. Maxon to provide her written response to
 4 Dean Thompson by September 30, 2018.
 5            45.       On September 30, 2018, Mrs. Maxon wrote to Dean Thompson. She
 6 stated that she wished “that this wasn’t a letter but a conversation we could have
 7 had over coffee.” She explained that she entered Fuller in the Spring of 2015, more
 8 than three years before the date of her letter to Dean Thompson.
 9            46.       Mrs. Maxon went on to disclose to Dean Thompson that she had made
10 “a financial, emotional, and legal commitment to the person I love.”
11            47.       Mrs. Maxon did not describe any sexual commitment or “homosexual
12 forms of explicit sexual conduct” in her letter.
13            48.       Mrs. Maxon then went on to explain how she now recognizes that
14 Fuller led her into feeling a “false sense of safety” at Fuller because Fuller
15 welcomes diversity and differences of opinion and because she had discussed her
16 same-sex partner and same-sex marriage in class with professors and students on
17 multiple occasions without opposition or reprimand.
18            49.       Mrs. Maxon asked Dean Thompson to allow her to finish her degree at
19 Fuller, as she had been there over three years and only had a few classes remaining.
20            50.       On October 9, 2018, several weeks into one of Mrs. Maxon’s final
21 quarters at Fuller, Dean Thompson sent Mrs. Maxon a letter informing her that she
22 was dismissing her from Fuller, effective immediately. Dean Thompson concluded
23 that Mrs. Maxon's same-sex marriage put her in violation of Fuller’s Community
24 Standard: Sexual Standard.
25            51.       However, the Sexual Standard does not prohibit a same-sex civil
26 marriage.
27            52.       Moreover, Fuller had not obtained, or presented, evidence that Mrs.
28 Maxon had engaged in “homosexual forms of explicit sexual conduct.”

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 1            53.       Rather, Fuller based its decision, at all stages of the process, on Mrs.
 2 Maxon’s same-sex marriage, which was not, in and of itself, a violation of Fuller’s
 3 Community Standard: Sexual Standard.
 4            54.       Dean Thompson explained that “whenever violations of our Sexual
 5 Standards are brought to Fuller’s leadership’s attention, we address them as dictated
 6 by our policies and procedures.” Dean Thompson then concluded by stating that “I
 7 am instructing the Registrar to dismiss you from the seminary, effective
 8 immediately.”
 9            55.       Dean Thompson provided no discussion as to why she selected the
10 severe punishment of expulsion for Mrs. Maxon.
11            56.       Fuller could have applied many other options for discipline and
12 reconciliation.
13            57.       Dean Thompson either did not consider, or dismissed, the impact that
14 her decision would have on Mrs. Maxon’s child, her family’s finances and her
15 professional future.
16            58.       Fuller, through its faculty, administrators and other students, knew all
17 of these things about Mrs. Maxon and, for three and a half years, welcomed her into
18 its community.
19            59.       Shortly after her dismissal, Mrs. Maxon wrote to a professor that
20 “[B]efore I received notification of my dismissal from the dean this past week, no
21 one at Fuller who has heard or knows this piece of my story (students or professors)
22 has sought to exclude me from the seminary. In fact, the opposite has been true.”
23            60.       Sadly, although she had been living transparently and had been
24 affirmed by her community, Mrs. Maxon was suddenly treated by Fuller’s
25 administration as if she were a threat and a social pariah.
26            61.       Mrs. Maxon’s community, where she found so much love, inspiration
27 and acceptance, had suddenly cast her out.
28

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 1            62.       As the professor who Mrs. Maxon had confided in wrote: “This is
 2 wrong.”
 3 C.         Fuller’s Policies
 4            63.       Fuller’s Non-Discrimination Policy states: “Fuller Theological
 5 Seminary is committed to providing and modeling a learning, working, living, and
 6 community environment that is free of unlawful discrimination in all of its policies,
 7 practices, procedures, and programs. This commitment extends to the seminary's
 8 administration of its educational policies, admissions, employment, educational
 9 programs, and activities. In keeping with this commitment, the seminary does not
10 discriminate on the basis of race, color, national origin, ancestry, sex, sexual
11 orientation, marital status, military and veteran status, medical condition, physical
12 disability, mental disability, genetic characteristics, citizenship, gender, gender
13 identity, gender expression, pregnancy, or age.”
14            64.       Fuller’s Policy Against Unlawful Discrimination states: “Fuller
15 Theological Seminary also does not discriminate on the basis of sexual orientation.
16 The seminary does lawfully discriminate on the basis of sexual conduct that violates
17 its biblically based Community Standard Statement on Sexual Standards. The
18 seminary believes that sexual union must be reserved for marriage, which is the
19 covenant union between one man and one woman. The seminary believes
20 premarital, extramarital, and homosexual forms of explicit sexual conduct to be
21 inconsistent with the teaching of Scripture. Therefore, the seminary expects
22 members of its community to abstain from what it holds to be unbiblical sexual
23 practices.”
24            65.       Fuller’s Title IX Policy states: “No person in the United States shall,
25 on the basis of sex, be excluded from participation in, be denied the benefits of, or
26 be subjected to discrimination under any education program or activity receiving
27 federal financial assistance. Title IX of the Education Amendments of 1972[.] Title
28 IX of the Education Amendments of 1972 (Title IX) prohibits discrimination based

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  1 on gender in educational programs that receive federal financial assistance.
  2 Programs and activities that may be included are admissions, recruitment, financial
  3 aid, academic programs, athletics, housing, and employment. Title IX also protects
  4 men and women from unlawful sexual harassment in school programs and
  5 activities.”
  6
                                         FIRST CAUSE OF ACTION
  7
         VIOLATION OF TITLE IX OF THE EDUCATION AMENDMENTS OF
  8
          1972, 20 U.S.C. §§ 1681, ET SEQ. (SEX AND SEXUAL ORIENTATION)
  9
 10            66.       Plaintiff incorporates by reference each of the allegations in all prior
 11 paragraphs in this Complaint as though fully set forth herein.
 12            67.       Under Title IX of the Education Amendments of 1972, Fuller is
 13 prohibited from discriminating against Mrs. Maxon on the basis of sex. 20 U.S.C.
 14 §§ 1681, et seq. Discrimination on the basis of sex includes discrimination on the
 15 basis of sexual orientation.
 16            68.       Defendants discriminated against Mrs. Maxon by treating her
 17 differently than a similarly situated male.
 18            69.       If Mrs. Maxon was male, Fuller would not have expelled her.
 19            70.       Defendants discriminated against Mrs. Maxon based on her sexual
 20 orientation because it expelled Mrs. Maxon for entering into a civil same-sex
 21 marriage.
 22            71.       If Mrs. Maxon had entered into a heterosexual marriage, Fuller would
 23 not have expelled her.
 24            72.       Indeed, even though Mrs. Maxon had dissolved a heterosexual
 25 marriage, Fuller still admitted Mrs. Maxon to its degree program.
 26            73.       Defendants also discriminated against Mrs. Maxon based on her sex
 27 and sexual orientation by subjecting her to stricter disciplinary action than Fuller
 28 would have subjected a male, heterosexual student.

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  1            74.       Male, heterosexual students are not subjected to the monitoring,
  2 interrogation, and discipline Defendants subjected Mrs. Maxon to.
  3            75.       Defendants’ conduct was intentional, willful, and taken in disregard of
  4 Mrs. Maxon’s federally-protected rights.
  5            76.       As a result of Defendants’ conduct, Mrs. Maxon has suffered
  6 emotional distress, humiliation and other damages.
  7            77.       Mrs. Maxon is entitled to declaratory relief, statutory damages, treble
  8 damages, costs and attorney fees.
  9
                                         SECOND CAUSE OF ACTION
 10
                                         UNRUH CIVIL RIGHTS ACTS
 11
                (SEX, GENDER EXPRESSION, AND SEXUAL ORIENTATION
 12
                                            DISCRIMINATION)
 13
 14            78.       Plaintiff incorporates by reference each of the allegations in all prior
 15 paragraphs in this Complaint as though fully set forth herein.
 16            79.       California Civil Code section 51 states, “All persons within the
 17 jurisdiction of this state are free and equal, and no matter what their sex, race, color,
 18 religion, ancestry, national origin, disability, medical condition, genetic
 19 information, marital status, sexual orientation, citizenship, primary language, or
 20 immigration status are entitled to the full and equal accommodations, advantages,
 21 facilities, privileges, or services in all business establishments of every kind
 22 whatsoever.”
 23            80.       As described above, Fuller is a business establishment subject to
 24 section 51.
 25            81.       The actions and omissions of Defendants alleged herein constitute a
 26 denial of full and equal accommodation, advantages, facilities, privileges, or
 27 services by Fuller on the basis of Mrs. Maxon’s sex and sexual orientation.
 28

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  1            82.       The violations of the Unruh Civil Rights Act caused Plaintiff to
  2 experience humiliation, emotional distress and other damages as described above.
  3 The Defendants are also liable for statutory damages, attorney fees and costs.
  4
                                         THIRD CAUSE OF ACTION
  5
                     BREACH OF CONTRACT AS TO DEFENDANT FULLER
  6
  7                                               (Count 1)
  8            83.       Plaintiff incorporates by reference each of the allegations in all prior
  9 paragraphs in this Complaint as though fully set forth herein.
 10            84.       The actions of Defendant Fuller as described above constitutes a
 11 breach of an agreement (“the Agreement”).
 12            85.       Defendant Fuller agreed to provide educational services to Mrs.
 13 Maxon, in accordance with Fuller’s policies, in exchange for a fee in the form of
 14 tuition.
 15            86.       However, as described above, Defendant Fuller failed to provide
 16 educational services to Mrs. Maxon in accordance with Fuller’s policies and
 17 improperly expelled Mrs. Maxon.
 18            87.       Fuller did not follow the disciplinary procedures outlined in Fuller’s
 19 student handbook.
 20            88.       Fuller punished Mrs. Maxon for her civil same-sex marriage even
 21 though a civil same-sex marriage is not prohibited by Fuller’s code of conduct.
 22            89.       Fuller punished Mrs. Maxon more harshly than it punished male
 23 heterosexual students.
 24            90.       Fuller misused Mrs. Maxon’s protected information from her tax
 25 return.
 26            91.       The breach has proximately caused damage to Plaintiff, such that
 27 Plaintiff is entitled to compensatory damages in the amount of at least $75,000,
 28 according to proof at trial.

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  1                       (Count 2 – Covenant of Good Faith and Fair Dealing)
  2            92.       Plaintiff incorporates by reference each of the allegations in all prior
  3 paragraphs in this Complaint as though fully set forth herein.
  4            93.       Certain portions of Fuller’s policies purport to grant discretion to
  5 administrators in implementing such policies.
  6            94.       Fuller and Dean Thompson abused that discretion and exercised it in
  7 bad faith by expelling Mrs. Maxon for her same-sex marriage.
  8            95.       Mrs. Maxon did not expect that Fuller would expel her because of her
  9 civil same-sex marriage. Mrs. Maxon’s expectation was reasonable as Fuller did not
 10 prohibit civil same-sex marriage by students. Her expectation was confirmed by the
 11 supportive and affirming conduct of students and professors at Fuller.
 12            96.       The breach has proximately caused damage to Plaintiff, such that
 13 Plaintiff is entitled to compensatory damages in the amount of at least $75,000,
 14 according to proof at trial.
 15
                                         FOURTH CAUSE OF ACTION
 16
                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 17
 18            97.       Plaintiff incorporates by reference each of the allegations in all prior
 19 paragraphs in this Complaint as though fully set forth herein.
 20            98.       As described above, Fuller’s conduct was intentional and outrageous
 21 for the following reasons:
 22                      a.       Fuller punished Mrs. Maxon for exercising her constitutional
 23 right to marry the woman she loves;
 24                      b.       Fuller does not prohibit students from entering into civil same-
 25 sex marriages, and students and professors at Fuller supported Mrs. Maxon’s same-
 26 sex marriage, yet Fuller punished Mrs. Maxon for her same-sex marriage;
 27                      c.       Fuller violated Mrs. Maxon’s rights under the Federal
 28 Educational Privacy Act by misusing Mrs. Maxon’s federally protected,

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  1 confidential information from her tax return to punish her for her same-sex
  2 marriage, rather than for financial aid purposes.
  3            99.       Defendants’ conduct caused Plaintiff to experience humiliation,
  4 emotional distress and other damages as described above in the amount of
  5 approximately $500,000, according to proof at trial.
  6
                                            PRAYER FOR RELIEF
  7
  8            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
  9 Defendants as follows:
 10            1.        As to Plaintiff’s First Cause of Action:
 11                      a.       A declaration that Defendants violated Title IX;
 12                      b.       An award of all appropriate damages, including but not limited
 13                               to statutory damages, general damages, and treble damages in an
 14                               amount to be proven at trial;
 15                      c.       Attorneys’ fees and costs as provided by statute pursuant to
 16                               42 U.S.C. § 1988(b).
 17            2.        As to Plaintiff’s Second Cause of Action:
 18                      a.       A declaration that Defendants violated the Unruh Civil Rights
 19                               Act;
 20                      b.       An award of statutory damages, costs and attorney fees pursuant
 21                               to California Civil Code section 52(a);
 22            3.        As to Plaintiff’s Third Cause of Action:
 23                      a.       An award of compensatory damages in the amount of at least
 24                               $75,000, according to proof at trial;
 25            4.        As to Plaintiff’s Fourth Cause of Action:
 26                      a.       An award of damages in the amount of approximately $500,000,
 27                               according to proof at trial; and
 28            5.        Such other and further relief as the Court deems just and proper.

                                                         14                    DAVIS WRIGHT TREMAINE LLP
                                                                                  865 S. FIGUEROA ST, SUITE 2400
      COMPLAINT FOR DAMAGES                                                    LOS ANGELES, CALIFORNIA 90017-2566
                                                                                            (213) 633-6800
      4848-7718-1869v.1 0201543-000001                                                    Fax: (213) 633-6899
Case 2:19-cv-09969-CBM-MRW Document 1 Filed 11/21/19 Page 15 of 18 Page ID #:15


  1                                      DEMAND FOR TRIAL BY JURY
  2
               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
  3
      hereby demands a trial by jury on all issues so triable.
  4
  5
      DATED: November 21, 2019                     DAVIS WRIGHT TREMAINE LLP
  6
  7
                                                   By:/s/ Paul Southwick
  8                                                  Paul C. Southwick
                                                     (Pro Hac Vice Pending)
  9
                                                   By:/s/ Arleen Fernandez
 10                                                  Arleen Fernandez, Esq.
 11                                                     Attorneys for Plaintiff
                                                        Joanna Maxon
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                                                   15                         DAVIS WRIGHT TREMAINE LLP
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                 EXHIBIT 1
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